Case 18-15691-CMG      Doc 239    Filed 09/24/18 Entered 09/24/18 19:12:39        Desc Main
                                 Document     Page 1 of 45


  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

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  American Center for Civil Justice, Inc.

  In Re
                                                        CHAPTER 11
  AMERICAN CENTER FOR CIVIL JUSTICE, INC.,
                                                        CASE NO.: 18-15691/CMG
          Debtor.
                                                        Judge: Hon. Christine M. Gravelle


 DISCLOSURE STATEMENT PURSUANT TO SECTION 1125 OF THE BANKRUPTCY
           CODE DESCRIBING CHAPTER 11 PLAN PROPOSED BY
            THE AMERICAN CENTER FOR CIVIL JUSTICE, INC.

 PLEASE READ THIS DISCLOSURE STATEMENT CAREFULLY. THIS FIRST
 MODIFIED DISCLOSURE STATEMENT CONTAINS INFORMATION THAT MAY
 BEAR UPON YOUR DECISION TO ACCEPT OR REJECT THIS PLAN OF
 LIQUIDATION. THE PLAN PROPONENT BELIEVES THAT THIS PLAN OF
 LIQUIDATION IS IN THE BEST INTEREST OF THE CREDITORS AND THAT THE
 PLAN IS FAIR AND EQUITABLE. THE PROPONENT URGES THAT THE VOTER
 ACCEPT THE PLAN.


                                    THE AMERICAN CENTER FOR CIVIL JUSTICE, INC.

                                    ___/s/ Neal Sher
                                           NEAL SHER, Secretary/General Counsel




 DATED: September 24, 2018
Case 18-15691-CMG    Doc 239    Filed 09/24/18 Entered 09/24/18 19:12:39   Desc Main
                               Document     Page 2 of 45


                               TABLE OF CONTENTS

                                                                             Page
 I. INTRODUCTION                                                             4
 A. Purpose of this Document                                                 4
 B. Confirmation Procedures                                                  5
 1. Persons Potentially Eligible to Vote on the Plan                         5
 2. Time and Place of the Confirmation Hearing                               6
 3. Deadline for Voting For or Against the Plan                              6
 4. Deadline for Objecting to the Confirmation of the Plan                   7
 5. Identity of Person to Contact for More Information Regarding the Plan    7
 C. Disclaimer                                                               7
 II. BACKGROUND                                                              7
 A. Description and History of the Debtor’s Business                         7
 B. Principals/Affiliates of Debtor’s Business                               8
 C. Management of the Debtor Before and After the Bankruptcy                 9
 D. Events Leading to Chapter 11 Filing                                      9
 E. Significant Events During the Bankruptcy                                 16
 1. Bankruptcy Proceedings                                                   16
 2. Other Legal Proceedings                                                  21
 3. Actual and Projected Recovery of Preferential or Fraudulent Transfers    21
 4. Current and Historical Financial Conditions                              21
 III. SUMMARY OF THE PLAN                                                    22
 A. What Creditors and Interest Holders Will Receive Under the Proposed Plan 22
 B. Unclassified Claims                                                      22
 1. Administrative Expenses and Fees                                         22
 2. Priority Tax Claims                                                      24
 C. Classified Claims and Interests                                          24
 1. Classes of Secured Claims                                                25
 2. Classes of Priority Non-Tax Claims                                       25
 3. Class of General Unsecured Claims                                        26
 D. Means of Effectuating the Plan                                           28
 1. Funding for the Plan                                                     28
 2. Merger……………………………………………………………………………………….29
 3. Post-Confirmation Management                                             29
 5. Disbursing Agent                                                         17
 E. Other Provisions of the Plan                                             33
 1. Executory Contracts and Unexpired Leases                                 33
 2. Changes in Rates Subject to Regulatory Commission Approval               34
 3. Retention of Jurisdiction                                                34
 4. Procedures for Resolving Contested Claims                                34
 5. Effective Date                                                           35
 6. Modification                                                             35
 F. Tax Consequences of Plan                                                 35
 G. Risk Factors                                                             37
 IV. CONFIRMATION REQUIREMENTS AND PROCEDURES                                37



                                          2
Case 18-15691-CMG       Doc 239    Filed 09/24/18 Entered 09/24/18 19:12:39   Desc Main
                                  Document     Page 3 of 45


 A. Who May Vote or Object                                                       38
 1. Who May Object to Confirmation of the Plan                                   38
 2. Who May Vote to Accept/Reject the Plan                                       38
 a. What Is an Allowed Claim/Interest                                            38
 b. What Is an Impaired Claim/Interest                                           39
 3. Who Is Not Entitled to Vote                                                  39
 4. Who Can Vote in More Than One Class                                          39
 5. Votes Necessary to Confirm the Plan                                          40
 6. Votes Necessary for a Class to Accept the Plan                               40
 7. Treatment of Nonaccepting Classes                                            40
 8. Request for Confirmation Despite Nonacceptance by Impaired Class(es)         40
 B. Liquidation Analysis                                                         41
 C. Feasibility                                                                  42
 V. EFFECT OF CONFIRMATION OF PLAN                                               44
 A. Discharge                                                                    44
 B. Revesting of Property in the Debtor                                          44
 C. Modification of Plan                                                         44
 D. Post-Confirmation Conversion/Dismissal                                       44




                                              3
Case 18-15691-CMG        Doc 239    Filed 09/24/18 Entered 09/24/18 19:12:39              Desc Main
                                   Document     Page 4 of 45


                                              I.
                                        INTRODUCTION

         American Center for Civil Justice, Inc., a New York Corporation, (hereinafter referred to

 as the “Debtor”) is the debtor in a Chapter 11 bankruptcy case. On March 23, 2018 (the "Petition

 Date"). the Debtor commenced a bankruptcy case by filing a voluntary Chapter 11 petition under

 the United States Bankruptcy Code (“Code”), 11 U.S.C. §101, et seq. Chapter 11 of the Code

 allows the Debtor, and under some circumstances, creditors and other parties in interest, to propose

 a plan of reorganization (“Plan”). The Plan may provide for the Debtor to reorganize by

 continuing to operate, to liquidate by selling assets of the estate, or a combination of both. The

 Debtor is the party proposing the Plan sent to you in the same envelope as this document. THE

 DOCUMENT YOU ARE READING IS THE DISCLOSURE STATEMENT FOR THE PLAN

 WHICH IS ANNEXED HERETO AS EXHIBIT A. THE PLAN CONTAINS A LIST OF

 DEFINITIONS WHICH ARE HEREBY INCORPORATED BY REFERENCE. FAMILIARIZE

 YOURSELF WITH THOSE DEFINITIONS BEFORE READING THIS DISCLOSURE

 STATEMENT. This is a plan of reorganization that provides for the payment of creditors from

 the future revenues of the Debtor. The Effective Date of the proposed Plan is 30 days after entry

 of an Order of the Bankruptcy Court confirming the Plan.

 A. Purpose of This Document. This Disclosure Statement summarizes what is in the Plan and

 tells you certain information relating to the Plan and the process the Bankruptcy Court follows in

 determining whether or not to confirm the Plan. READ THIS DISCLOSURE STATEMENT

 CAREFULLY IF YOU WANT TO KNOW ABOUT: (1) WHO CAN VOTE OR OBJECT;

 (2) THE PROPOSED TREATMENT OF YOUR CLAIM (i.e., what your claim will receive

 if the Plan is confirmed), AND HOW THIS TREATMENT COMPARES TO WHAT YOU

 WOULD RECEIVE IN LIQUIDATION; (3) THE HISTORY OF THE DEBTOR AND



                                                  4
Case 18-15691-CMG          Doc 239    Filed 09/24/18 Entered 09/24/18 19:12:39             Desc Main
                                     Document     Page 5 of 45


 SIGNIFICANT         EVENTS       DURING        THE     BANKRUPTCY;            (4)   WHAT       THE

 BANKRUPTCY COURT WILL CONSIDER WHEN DECIDING WHETHER TO

 CONFIRM THE PLAN; (5) THE EFFECT OF CONFIRMATION; AND (6) THE

 FEASIBILITY OF THE PLAN.

        This Disclosure Statement cannot tell you everything about your rights. You should

 consider consulting your own lawyer to obtain more specific advice on how this Plan will affect

 you and what is the best course of action for you. Be sure to read the Plan as well as the Disclosure

 Statement. If there are any inconsistencies between the Plan and the Disclosure Statement, the Plan

 provisions will govern. Code Section 1125 requires a Disclosure Statement to contain “adequate

 information” concerning the Plan. The term “adequate information” is defined in Code Section

 1125(a) as “information of a kind, and in sufficient detail,” about a Debtor and its operations “that

 would enable a hypothetical reasonable investor typical of holders of claims or interests” of the

 debtor to make an informed judgment about accepting or rejecting the Plan. The Bankruptcy Court

 (“Court”) has determined that the information contained in this Disclosure Statement is adequate,

 and it has approved this document in accordance with Code Section 1124. This Disclosure

 Statement is provided to each creditor whose claim has been scheduled by the Debtor or who has

 filed a proof of claim against the Debtor. Under the Bankruptcy Code, your acceptance of the Plan

 may not be solicited unless you receive a copy of this Disclosure Statement prior to or concurrently

 with such solicitation.

 B. Confirmation Procedures

 1. Persons Potentially Eligible to Vote on the Plan.

        In determining acceptance of the Plan, votes will only be counted if submitted by a creditor

 whose claim is duly scheduled by the Debtor as undisputed, non-contingent and unliquidated, or




                                                  5
Case 18-15691-CMG         Doc 239    Filed 09/24/18 Entered 09/24/18 19:12:39               Desc Main
                                    Document     Page 6 of 45


 who, prior to the deadline for filing claims (“Bar Date” see § IV, A, 2, a. below), has filed with the

 Bankruptcy Court a proof of claim which has not been disallowed or suspended prior to

 computation of the votes on the Plan. All shareholders, partners or members, if any, of record as

 of the date of approval of this Disclosure Statement may vote on the Plan. The Ballot Form that

 you received does not constitute a proof of claim. If you are uncertain whether your claim has been

 correctly scheduled, you should check the Debtor’s Schedules, which are on file at the office of

 the Clerk of the Bankruptcy Court located at: United States Bankruptcy Court, Clarkson S. Fisher

 US Courthouse, United States Bankruptcy Court, 402 East State Street, Trenton, New Jersey

 08608. The Clerk of the Bankruptcy Court will not provide this information by telephone. THE

 BANKRUPTCY COURT HAS NOT YET CONFIRMED THE PLAN DESCRIBED IN THIS

 DISCLOSURE STATEMENT. IN OTHER WORDS, THE TERMS OF THE PLAN ARE NOT

 YET BINDING ON ANYONE. HOWEVER, IF THE BANKRUPTCY COURT LATER

 CONFIRMS THE PLAN, THEN THE PLAN WILL BE BINDING ON THE DEBTOR AND ON

 ALL CREDITORS AND INTEREST HOLDERS IN THIS CASE.

 2. Time and Place of the Confirmation Hearing

        The hearing at which the Bankruptcy Court will determine whether to confirm the Plan

 will take place on                                    , at                    {A.M./P.M.}, in the

 Courtroom of the Honorable Christine M. Gravelle, U.S.B.J., Courtroom 3, Clarkson S. Fisher US

 Courthouse, United States Bankruptcy Court, 402 East State Street, Trenton, New Jersey 08608.

 3. Deadline for Voting For or Against the Plan

        If you are entitled to vote, it is in your best interest to timely vote on the enclosed ballot

 and return the ballot in the enclosed envelope to the Office of the Clerk, United States Bankruptcy




                                                   6
Case 18-15691-CMG         Doc 239    Filed 09/24/18 Entered 09/24/18 19:12:39            Desc Main
                                    Document     Page 7 of 45


 Court, 402 East State Street, Trenton, New Jersey 08608. Your ballot must be received by

                 2018 or it will not be counted.

 4. Deadline for Objecting to the Confirmation of the Plan

        Objections to the confirmation of the Plan must be filed with the Bankruptcy Court and

 served by upon the following:

                                 TIMOTHY P. NEUMANN, ESQ.
                                 Broege, Neumann, Fischer & Shaver, LLC
                                 25 Abe Voorhees Drive
                                 Manasquan, New Jersey 08736
                                 (732) 223-8484 (ext. 214)
                                 Timothy.neumann25@gmail.com

 4. Identity of Person to Contact for More Information Regarding the Plan

        Any interested party desiring further information about the Plan should contact Timothy P.

 Neumann, Esq., at the above address, phone number or email address.

 C. Disclaimer

        The financial data relied upon in formulating the Plan is based on the books and records of

 the Debtor. The information contained in this Disclosure Statement is provided by the Debtor. The

 Plan Proponent represents that everything stated in the Disclosure Statement is true to the

 Proponent’s best knowledge. PLEASE NOTE THAT THE APPROVAL OF THIS

 DISCLOSURE         STATEMENT          BY    THE       BANKRUPTCY       COURT       DOES     NOT

 CONSTITUTE A RULING ON THE MERITS, FEASIBILITY OR DESIRABILITY OF

 THE PLAN.




                                                   7
Case 18-15691-CMG         Doc 239    Filed 09/24/18 Entered 09/24/18 19:12:39               Desc Main
                                    Document     Page 8 of 45


                                              II.
                                          BACKGROUND

 A. Description and History of the Debtor’s Business.

        The Debtor locates and assists the victims and their families of state-sponsored terrorism

 in pursuing claims for civil damages against governments and their agents that have perpetrated or

 aided and abetted terrorism. It enters into agreements with these individuals in which the Debtor

 undertakes to retain counsel at the expense of the Debtor to pursue civil recoveries. The individual

 agrees, in the event of a successful recovery, to reimburse the Debtor its outlay and to donate a

 percentage of the victim’s net recovery to the Debtor.

        Michael Engelberg and Eliezer Perr founded the Debtor’s predecessor organization, The

 Raoul Wallenberg Center for Civil Justice, Inc., on November 26, 1996. On January 20, 2005,

 Raoul Wallenberg Center changed its name to The American Center for Civil Justice, Inc. At the

 same time, the certificate of incorporation was amended to provide that the corporation was

 organized for "charitable, religious, and educational purposes," and to permit "distributions to such

 organizations and those that are committed to perpetuate the causes of civil liberties, civil justice,

 religious freedom and tolerance as guaranteed by the U.S. Constitution, and those that qualify as

 exempt organizations under § 501 of the Internal Revenue Code...."

 B. Principals/Affiliates of the Debtor. The Debtor, although a corporation, has no shareholders.

 The following individual are members of the board of directors of the Debtor: Eliezer Perr, Milton

 Pollack.

        The New Jersey Center for Civil Justice, Religious Liberty & Tolerance, Inc. is a New

 Jersey nonprofit corporation. The president of ACCJ-RLT is Jed Per who is the son of Eliezer Perr.

 In 2007, the Debtor and ACCJ-RLT entered into an agreement (the “2007 Agreement”) pursuant

 to which ACCJ-RLY undertook to endeavor to collect a judgment that had been recovered by



                                                   8
Case 18-15691-CMG        Doc 239    Filed 09/24/18 Entered 09/24/18 19:12:39           Desc Main
                                   Document     Page 9 of 45


 Claimants and agreed to share the donations that would be paid by Claimants upon recovery of

 compensation. The 2007 Agreement was amended in 2013. The validity of the 2007 Agreement

 is disputed by Michael Engelberg, and the Diana Campuzano, Avi Elishis and Gregg Salzman (the

 “Campuzano Claimants”). The report of Bederson & Company, LLC dated September 19, 2018

 provides an analysis of the 2017 Agreement and is annexed hereto as Exhibit B.

 C. Management of the Debtor Before and After the Bankruptcy. The Debtor’s management

 before and during the bankruptcy proceeding consisted of: Eliezer Perr, president; Neal Sher,

 secretary/ general counsel; and Harris Tannenbaum, treasurer/ controller.

 D. Events Leading to Chapter 11 Filing. The Debtor filed Chapter 11 because it had been sued

 in New York by the Campuzano Claimants who alleged that the Debtor had failed to protect their

 right to participate in the distribution of a fund that was created from money (the “Clearstream

 Account”) seized from the Islamic Republic of Iran (“Iran”). The Campuzano Claimants were

 endeavoring to seize the Debtor’s interest in the Clearstream Account, which in the opinion of

 Debtor’s management, should be utilized to benefit all creditors and not just the Campuzano

 Claimants. The details are as follows:

 1. The Campuzano Claimants sued the Debtor and others in litigation (the “Campuzano New

    York Action”) pending in the Supreme Court of the State of New York, Nassau County, Index

    No. 605379/2016.

 2. The Debtor disputed the allegations of the complaint and filed an answer to the amended

    complaint

 3. The Campuzano Claimants were victims of a terror attack at the Ben Yehuda Street pedestrian

    mall in downtown Jerusalem on September 4, 1997. Three terrorists from the Iran-sponsored

    Hamas terror organization wearing explosives simultaneously blew themselves up.




                                                 9
Case 18-15691-CMG        Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39               Desc Main
                                Document    Page 10 of 45


 4. The Debtor assisted the Campuzano Claimants in suing Iran in Campuzano v. Islamic Rep. of

    Iran, No. 00-cv-2328 (D.D.C) (the “D.C. Case”), seeking to recover for their damages against

    Iran, which was alleged to have sponsored the terror attack.

 5. On September 10, 2003, the court in the DC Case entered judgment for compensatory

    damages in the amount of $10 million for Salzman, $12,010,882.87 for Elishis, and

    $18,952,725 for Campuzano. Campuzano, 281 F. Supp. 2d at 274-75, totaling

    $40,963,607.80 collectively. The case was tried in the D.C. District Court together with

    another case brought by another group of victims (the “Rubin Plaintiffs”) of the same terror

    attack, Rubin v. Islamic Rep. of Iran, 01-cv-1655 (D.D.C.). See Campuzano, 281 F. Supp.

    2d at 258. While the Rubin Plaintiffs and Defendants were separately represented, the cases

    were tried and decided simultaneously, resulting in a single opinion, Campuzano v. Islamic

    Rep. of Iran, 281 F. Supp. 2d 258 (D.D.C. 2003). (MTD at p. 2-3).

    The Heiser Case

 6. The Debtor also assisted 67 plaintiffs (the “Heiser Plaintiffs”) in a case called Heiser v.

    Islamic Rep. of Iran, Nos. 00-2329 and 01-2104 (D.D.C.) (the “Heiser Case”). The Heiser

    Case was brought on behalf of the family members and estates of 17 United States service

    members killed in a June 25, 1996, terrorist attack on the Khobar Towers residence on a U.S.

    military base in Saudi Arabia. Estate of Heiser v Islamic Rep. of Iran, 466 F. Supp. 2d 229

    (D.D.C. 2006).

 7. The Heiser Case culminated on December 22, 2006 when judgment was entered in favor of

    the all the Heiser Plaintiffs in the amount of $254,431,903. (Heiser, 00-cv-2039, Dkt. 134

    (D.D.C.)), which was then supplemented with an additional judgment, granting judgment

    for categories of damages that had not previously been supported by sufficient evidence,




                                                10
Case 18-15691-CMG        Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                 Desc Main
                                Document    Page 11 of 45


    totaling $36,658,063 (Heiser, 00-cv-2039, Dkt. 135 (D.D.C.)). Thus, the total modified

    judgment was $291,090,166. The Heiser Plaintiffs recovered $150 million.


    The Peterson Case

 8. Another group of plaintiffs (the “Peterson Plaintiffs”), comprised of the 241 deceased service

    members and injured survivors of the October 23, 1983 suicide bombing attack of a Marine

    barracks in Beirut, Lebanon, had also filed an action against Iran. That action was Peterson

    v. Islamic Rep. of Iran, 01-2094 and 01-2684 (D.D.C.) (the “Peterson Case”). Due to the

    large number of plaintiffs, the judgment in the Peterson Case (the “Peterson Judgment”),

    entered September 7, 2007, collectively totaled $2,656,944,877.

 9. The Peterson Judgment was registered in the Southern District of New York and writs of

    garnishment were served on banks and financial institutions, including Citibank, which

    held an account referred to as the “Clearstream Account,” which held over $1.8 billion. The

    Peterson Plaintiffs moved to execute their judgment against those assets.

 10. Citibank then filed an interpleader action naming as parties all holders of judgments against

    Iran who had moved to intervene in the Peterson Case, who had served writs of execution

    against Citibank, or who had served a lis pendens on Citibank with respect to Iranian assets.

    (Peterson, 10-cv-4518, Dkt. 38 (S.D.N.Y.)). Among those named as parties to the

    interpleader complaint were the Heiser Plaintiffs and the Rubin Plaintiffs—but not the The

    Campuzano Claimants. As to the Heiser Plaintiffs, Citibank’s interpleader complaint

    alleged:

                Upon information and belief, Third-Party Respondents the Estate of
                Michael Heiser (the “Heiser Judgment Creditors”) were plaintiffs in an
                action entitled Estate of Heiser v. Islamic Republic of Iran, et al., Civil
                Action Nos. 00-02329 and 01-02104 (RCL) (D. D.C.), who were awarded
                damages totaling $254,431,903 based on a judgment entered by default


                                                 11
Case 18-15691-CMG         Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39               Desc Main
                                 Document    Page 12 of 45


                against Iran and other defendants. The Heiser Judgment Creditors served
                a writ of garnishment (in Maryland) and writs of execution upon
                Citibank with respect to the Iranian Entities on or about September 1,
                2010, January 3, 2011[,] and January 26, 2011, respectively. On or about
                April 13, 2010 they moved to intervene in the Miscellaneous Action. That
                motion is sub judice. Upon information and belief, on or about March
                8, 2011, the Heiser Judgment Creditors commenced a turnover action
                against Clearstream with respect to the Restrained Assets, which turnover
                action is duplicative of Plaintiffs’ Turnover Proceeding.

 11. As to the Rubin Plaintiffs, Citibank’s interpleader complaint alleged:

                Upon information and belief, Third-Party Respondents Jenny Rubin,
                Deborah Rubin, Daniel Miller, Abraham Mendelson, Stuart E. Hersh,
                Renay Frym. Noam Rozenman, Elena Rozenman and Tzvi Rosenman
                (the “Rubin Judgment Creditors”) were plaintiffs in an action entitled
                Rubin et al. v. Islamic Republic of Iran, et al., Civil Action No. 01-1655
                (RCL) (D.D.C.), who were awarded damages totaling approximately
                $71.5 million based on a judgment entered by default against Iran and
                other defendants. The Rubin Judgment Creditors delivered a writ of
                execution to the U.S. Marshall for service upon Citibank with respect to
                Iranian Entities on or about October 10, 2008.


 12. On June 1, 2012, a settlement agreement was executed in the Peterson Case that resulted in

    the Clearstream Account being divided among the various judgment creditors of Iran who

    were part of the Peterson Case in amounts prorated corresponding to their judgment amounts.

    The Heiser Plaintiffs collectively received 7.773% of the Clearstream Account under that

    agreement. The Peterson settlement agreement was signed on behalf of the Heiser Plaintiffs

    by Michael Engelberg “as Attorney in Fact on behalf of the Heiser Plaintiffs and for the

    American Center for Civil Justice, a New York Nonprofit Corporation.” Neal Sher also

    signed as “General Counsel for the American Center for Civil Justice, A New York

    Nonprofit Corporation and on Behalf of Agent.”



                                                 12
Case 18-15691-CMG        Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39               Desc Main
                                Document    Page 13 of 45


 13. Summary judgment was granted in favor of the plaintiffs in the Peterson Case (Peterson v.

    Islamic Rep. of Iran, 2013 WL 1155576 (S.D.N.Y. Mar. 13, 2013)), which was affirmed by

    the Second Circuit Court of Appeals, Peterson v. Islamic Rep. of Iran, 758 F.3d 185 (2d Cir.

    2014), and by the United States Supreme Court, sub nom Bank Markazi v. Peterson, 136 S.

    Ct. 1310 (2016).

 14. In the Campuzano New York Action, the Campuzano Claimants allege that, had the Debtor

    filed a writ of execution or lis pendens on their behalf, the Campuzano Claimants would

    have been included in the Peterson Case from inception, like the Rubin Plaintiffs and the

    Heiser Plaintiffs. The Campuzano Claimants allege that they then would have participated

    in the distribution of the Clearstream Account pro rata just like the Rubin and Heiser

    Plaintiffs did. Campuzano Claimants allege that all Debtor had to do was serve writs of

    garnishment but was negligent in failing to do so. The Debtor disputes these allegations.

 15. The judge presiding over the Peterson Case in the Southern District of New York, the Hon.

    Katherine Forrest, pursuant to 26 USCS § 468B, appointed a retired federal judge, Hon.

    Stanley Sporkin, as Trustee to manage the Clearstream Account while the litigation was

    pending, and to distribute the proceeds after conclusion of the litigation. Correspondence

    from the Judge Sporkin’s counsel dated October 14, 2016 states that the portion of the

    Clearstream assets that has been made available for distribution and was allocated to the

    Heiser Plaintiffs under the parties’ settlement agreement was $135,078,329.09. Of that

    amount, 15% or $20,261,749.36 was allocated to the legal fees of DLA Piper, and of the

    remainder 20% or $22,963,315.95 was allocated to the Debtor as its donation from the Heiser

    Plaintiffs pursuant to Claimant and Center Agreements they had signed with the Debtor.

    Trustee Sporkin’s counsel states that the Heiser Plaintiffs’ money and DLA Piper’s money




                                                13
Case 18-15691-CMG        Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                  Desc Main
                                Document    Page 14 of 45


    would be distributed, and the Debtor’s money would he held pending the disposition of the

    Campuzano New York Action or “a court of competent jurisdiction has entered an

    appropriate final order, which is not subject to any appeal or challenge.” It also stated:

        The Trustee makes no representations on the validity, merit, or enforceability of
        any of claims asserted in the Campuzano matter or any of the agreements between
        the ACCJ, the Heiser Plaintiffs, or any other party. The Trustee will simply reserve
        and withhold payment of said funds until the appropriate time that they may be
        distributed to the proper party.

 16. In a subsequent letter dated July 28, 2017, the Trustee’s counsel informed the Debtor that an

    additional $3,966,903.76 had become available to the Heiser Plaintiffs, and as a result an

    additional $674,373.64 was being held back on account of the Debtor’s 20% share. The

    additional sum brought the total amount being held by Trustee Sporkin to $23,637,689.59

    plus interest (the “Peterson/Clearstream Share”)

    Campuzano New York Action

 17. In 2016, Campuzano Claimants initiated the Campuzano New York Action against the

    Debtor, Dr. Michael Engelberg, and Neal Sher, Esq. There was already an action pending in

    that court brought by Dr. Engelberg against Debtor and its other principals alleging corporate

    malfeasance and demanding an accounting, Engelberg v. Perr, No. 606919/2014 (Sup.

    Ct., Nassau Cty.) (“Engelberg Derivative Action”). Plaintiff filed an answer contesting the

    allegations made by Engelberg and counterclaiming against him. Both cases were assigned

    to the same judge, Hon. Stephen Bucaria. The Campuzano New York Action was originally

    commenced only on behalf of Campuzano. Elishis and Salzman originally sued in federal

    court, but that action was dismissed for lack of diversity jurisdiction, whereupon they were

    added as plaintiffs in the Campuzano New York Action.




                                                 14
Case 18-15691-CMG        Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                  Desc Main
                                Document    Page 15 of 45


 18. Shortly after commencing the Campuzano New York Action, Campuzano requested an order

    of attachment to secure her interests.

 19. By order dated September 29, 2016, the New York Supreme Court granted Campuzano’s

    motion for an order of attachment but held that the sovereign immunity of the United States

    mandated that, “no garnishment or other process…may be directed to Trustee Sporkin.”. It

    also directed that the order of attachment state in bold type that the order “may not be served

    upon Stanley Sporkin, trustee, or upon any other federal officer o[r] employee.”

 20. By this point Elishis and Salzman had been added to the case.

 21. Formal orders of attachment, one for Diana Campuzano and one for Avi Elishis and Gregg

    Salzman, collectively the “Attachment Orders”) were entered on November 22, 2016. The

    top of these orders, as required by the New York state court, declare:

               THIS ORDER OF ATTACHMENT MAY NOT BE SERVED UPON
               STANLEY SPORKIN, TRUSTEE, OR UPON ANY OTHER FEDERAL
               OFFICER OR EMPLOYEE.


    The orders expressly direct the sheriff to “attach property of [Debtor] at any time before final

    judgment, by levy upon any interest of the [Debtor] in the debt owed to the defendant [from

    the Peterson distribution].”

 22. The Attachment Order for Diana Campuzano provides: “[T]he amount to be secured by this

    order of attachment, including any interest, costs, and sheriff’s fees and expenses [,] shall be

    $9,512,860. Similarly, the Attachment Order for Avi Elishis and Gregg Salzman provides

    that $6,019,115 shall be secured for Elishis and $5,012,765 shall be secured for Salzman.

 23. Both Attachment Orders were delivered to the Sheriff of the City of New York on February

    8, 2017. The Sheriff served both Attachment Orders on Debtor by serving Debtor’s counsel

    in the Campuzano New York Action on March 6, 2017. The levies the Sheriff served state


                                                 15
Case 18-15691-CMG             Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39               Desc Main
                                     Document    Page 16 of 45


      that the Sheriff’s office levies and attaches “all property in your possession or

      custody...which you can assign or transfer, whether it consists of a present or future right or

      interest and whether or not it is vested....”

 24. Neither Attachment Order was served on Stanley Sporkin.

 25. The Chapter 11 was filed in order to defeat the efforts of the Campuzano Claimants to seize

      the Debtor’s interest in the funds held by Stanley Sporkin and the Debtor has filed an

      adversary complaint against the Campuzano Claimants requesting that the Court declare that

      they held no lien against that Paterson/Clearstream Share, or that in the alternative, any lien

      that they might have held can be avoided pursuant to section 544(a) of the Bankruptcy Code.

 E. Significant Events During the Bankruptcy

 1.       Bankruptcy Proceedings. The following table is extracted from the docket of the Court

 and depicts the significant events which have occurred during the Chapter 1 case.


                        Docket
      Filing Date       Entry                                Docket Text
                          #

                          1        Chapter 11 Voluntary Petition Filed by Timothy P. Neumann
  03/23/2018                       on behalf of American Center for Civil Justice, Inc.

  04/05/2018              15       Motion to Extend Time to File Missing Schedules

                          18       Objection to Application to Extend Time to File Missing
                                   Documents filed by Robert J. Tolchin, Mark Politan on behalf
  04/11/2018                       of Diana Campuzano, Avi Elishis, Gregg Salzman.

                          26       Adversary case 18-01195. Complaint by American Center for
                                   Civil Justice, Inc. against Diana Campuzano, Gregg Salzman
                                   and Avi Elishis challenging extent, priority and validity of lien
  04/17/2018                       in Clearstream/Peterson Fund




                                                      16
Case 18-15691-CMG    Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39              Desc Main
                            Document    Page 17 of 45



                    28    Application for Retention of Professional Broege, Neumann,
                          Fischer & Shaver, LLC as counsel for American Center for
  04/20/2018              Civil Justice, Inc.

                    29    Motion for Relief from Stay to continue prepetition state court
                          litigation filed by Robert J. Tolchin, Mark Politan on behalf of
  04/23/2018              Diana Campuzano, Avi Elishis, Gregg Salzman.

                    33    Objection to Application for Retention of Broege, Neumann,
                          Fischer & Shaver, LLC filed by Robert J. Tolchin, Mark Politan
  04/26/2018              on behalf of Diana Campuzano, Avi Elishis, Gregg Salzman.

                    43    Motion to Appoint Trustee Filed by Mark Politan, Robert J.
                          Tolchin on behalf of Diana Campuzano, Avi Elishis, Gregg
  05/08/2018              Salzman.

                    47    Order Granting Application to Employ Broege, Neumann,
  05/16/2018              Fischer & Shaver, LLC

                    52    Monthly Operating Report for Filing Period April, 2018 filed
                          by Timothy P. Neumann on behalf of American Center for
  05/18/2018              Civil Justice, Inc.

  05/22/2018        56    Motion to Appoint Trustee Filed by Joshua Ambush.

                    66    Motion to Assume to Assume Executory Stipulation of
                          Settlement of Prepetition Litigation Filed by Timothy P.
  05/28/2018              Neumann on behalf of American Center for Civil Justice, Inc.

                    79    Motion to Modify Claims and Reduce Claims and Expunge
                          Claims and Object to Claims of American Center for Civil
                          Justice, Religious Liberty, and Tolerance, Inc., Filed by Mark
                          Politan, Robert J. Tolchin on behalf of Diana Campuzano, Avi
  06/06/2018              Elishis, Gregg Salzman.

    06/11/2018      85    Monthly Operating Report for Filing Period March/April 2018

                    86    Adversary case 18-01273. Complaint by American Center for
                          Civil Justice, Inc. against Joshua Ambush to enforce prepetition
    06/12/2018            settlement agreement and expunge claim

    06/20/2018      93    Monthly Operating Report for Filing Period May, 2018




                                          17
Case 18-15691-CMG    Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39             Desc Main
                            Document    Page 18 of 45



                    100   Application for Retention of Professional Bederson &
    06/29/2018            Company, LLP as Forensic Accountant and Expert Witness

                    101   Joint Order Scheduling Pretrial Proceedings and Trial of
    06/29/2018            Motion for Appointment of Chapter 11 Trustee.

                    103   Motion for Relief from Stay re: Setoff Against Cash Filed by
    07/02/2018            Robert E. Nies on behalf of Law Office of Paul Gaston.

                    107   Application for Retention of Professional Lourdes I. Morera
    07/03/2018            Ledn as Special Counsel for Debtor

                    109   Objection to Application for Retention of Professional
                          Bederson & Company, LLP as Forensic Accountant and Expert
                          Witness filed by Mark Politan, Robert J. Tolchin on behalf of
    07/03/2018            Diana Campuzano, Avi Elishis, Gregg Salzman.

                    110   Objection to Application for Retention of Professional Lourdes
                          I. Morera Ledn as Special Counsel filed by Mark Politan,
                          Robert J. Tolchin on behalf of Diana Campuzano, Avi Elishis,
    07/03/2018            Gregg Salzman.

                    112   Motion re: Strike Cert. of No Opposition Filed by William S.
                          Katchen on behalf of American Center for Civil Justice
    07/06/2018            Religious Liberty & Tolerance, Inc.

                    114   Objection to Motion for Relief from Stay re: Setoff Against
                          Cash on behalf of Law Office of Paul Gaston filed by Mark
                          Politan, Robert J. Tolchin on behalf of Diana Campuzano, Avi
    07/08/2018            Elishis, Gregg Salzman.

                    116   Order Granting Limited Relief from Automatic Stay To Diana
    07/09/2018            Campuzano, Avi Elishis And Gregg Salzman

    07/20/2018      126   Monthly Operating Report for Filing Period June, 2018

    07/23/2018      127   Order Regarding Salary of Eliezer Perr.

                    131   Supplemental Certification of Lourdes I. Morera Ledn in
    07/24/2018            support of Application for Retention

                    132   Verified Response to Objection to Claim of American Center
    07/24/2018            for Civil Justice, Religious Liberty & Tolerance filed by



                                         18
Case 18-15691-CMG    Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39          Desc Main
                            Document    Page 19 of 45



                          William S. Katchen on behalf of American Center for Civil
                          Justice Religious Liberty & Tolerance, Inc.

                    162   Order Granting Paul Gaston Relief from the Automatic Stay, 11
                          U.S.C. § 362, For Cause and Authorizing Setoff, Pursuant To
    08/01/2018            U.S.C. § 553(A) of Mutual Debts;

                    167   Motion to Expunge Claims and Object To Claims of Gerald
                          Welch Filed by Timothy P. Neumann on behalf of American
    08/08/2018            Center for Civil Justice, Inc.

                    168   Motion to Expunge Claims and Object To Claims of Estate of
                          Betty Ann Welch Filed by Timothy P. Neumann on behalf of
    08/08/2018            American Center for Civil Justice, Inc.

                    171   Motion to Expunge Claims and Object To Claims of Chad P.
                          Holland Filed by Timothy P. Neumann on behalf of American
    08/13/2018            Center for Civil Justice, Inc.

                    172   Motion to Expunge Claims and Object To Claims of Donna M.
                          Holland Filed by Timothy P. Neumann on behalf of American
    08/13/2018            Center for Civil Justice, Inc.

                    173   Motion to Expunge Claims and Object To Claims of James R.
                          Holland Filed by Timothy P. Neumann on behalf of American
    08/13/2018            Center for Civil Justice, Inc.

                    174   Motion to Expunge Claims and Object To Claims of Michael
                          Welch Filed by Timothy P. Neumann on behalf of American
    08/13/2018            Center for Civil Justice, Inc.

                    175   Motion to Expunge Claims and Object To Claims of Joyce
                          Louis Leydet Brewer Filed by Timothy P. Neumann on behalf
    08/13/2018            of American Center for Civil Justice, Inc.

                    176   Motion to Expunge Claims and Object To Claims of Richard
                          Paul Brewer Filed by Timothy P. Neumann on behalf of
    08/13/2018            American Center for Civil Justice, Inc.

                    180   Motion to Expunge Claims and Object To Claims of Richard
                          Paul Brewer Filed by Timothy P. Neumann on behalf of
    08/14/2018            American Center for Civil Justice, Inc.




                                         19
Case 18-15691-CMG    Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39             Desc Main
                            Document    Page 20 of 45



                    182   Motion for entry of an Order authorizing the Debtor to
                          reimburse Eliezer Perr for the over-collection of payroll taxes
                          arising from his refunding prepetition salary Filed by Timothy
                          P. Neumann on behalf of American Center for Civil Justice,
    08/15/2018            Inc.

                    204
    08/20/2018            Monthly Operating Report for Filing Period July, 2018

                    205   Motion to Consolidate cases: 18-15691 and 18-26095 filed by
                          William S. Katchen on behalf of American Center for Civil
    08/21/2018            Justice Religious Liberty & Tolerance, Inc..

                    207   Objection to the Debtors Application to Procedurally
                          Consolidate Cases 18-15691 and 18-26095 filed by Jeffrey M.
    08/22/2018            Sponder on behalf of U.S. Trustee.

                    208   Withdrawal of Motion to Assume Settlement Agreement of
                          Engelberg Derivative Action filed by Timothy P. Neumann on
    08/22/2018            behalf of Debtor

                    209   Consent Order Expanding Scope Of Stay Relief regarding
                          prepetition litigation brought by Diana Campuzano, Avi Elishis
                          And Gregg Salzman to allow post summary judgment motion
    08/23/2018            and appeals

                    211   Order Granting Application to Employ Professional Bederson
    08/23/2018            & Company, LLP as forensic accountant and expert witness

                    212   Order Granting Application to Employ Professional Lourdes I.
    08/23/2018            Morera Ledon as Special Litigation Counsel

                    213   Order Denying Motion to Consolidate Cases: 18-15691 and 18-
    08/24/2018            26095

                    223
    08/30/2018            Scheduling Order setting schedule for filing plan

                    229
    09/17/2018            Order expunging claim of Chad P. Holland

                    230
    09/17/2018            Order Expunging Claim of Donna M. Holland



                                          20
Case 18-15691-CMG        Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                Desc Main
                                Document    Page 21 of 45



                       231
    09/17/2018                   Order expunging claim of James R. Holland

                       232       Order authorizing Debtor to reimburse Eliezer Perr for over-
    09/17/2018                   collected payroll taxes



 2. Other Legal Proceedings.

    (a) The Debtor was a party defendant in the following litigation that was pending on the

        Petition Date: the Campuzano New York Action; the Engelberg Derivative Litigation.

    (b) The Debtor filed the following adversary proceedings in the Bankruptcy Court:

        1) the Campuzano Adversary Proceeding – the Debtor has filed a motion for summary

            judgment which is currently pending;

        2) the Ambush Adversary Proceeding – Ambush has filed a motion to dismiss which is

            currently pending.


 3. Actual and Projected Recovery of Preferential or Fraudulent Transfers. The Debtor does

 not contemplate initiating any actions to recover fraudulent conveyance and preferences.

 4. Current and Historical Financial Conditions. The post-petition operations of the Debtor are

 as reflected on the Interim Financial Reports filed by the Debtor on a monthly basis with the Clerk

 of the United States Bankruptcy Court and the office of the United States Trustee for the District

 of New Jersey. The Interim Financial Reports are available for inspection and review at either the

 office of the Clerk of the United States Bankruptcy Court, 402 East State Street, Trenton, New

 Jersey 08607 or the office of the United States Trustee for the District of New Jersey, 1 Newark

 Center, Suite 2100, Newark, New Jersey 07102, as well as, the office of the attorneys for the

 Debtor. A copy of the Debtor’s most recent monthly report to the U.S. Trustee is annexed hereto

 as Exhibit C. The schedules filed by the Debtor, as amended, indicate assets and liabilities as set



                                                 21
Case 18-15691-CMG         Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                 Desc Main
                                 Document    Page 22 of 45


 forth on Exhibit D. Creditors are entitled to file proofs of claim which supersede the information

 in the Debtor’s schedules unless the Court determines that the claim that was filed is invalid or

 excessive and should be reduced. Eighteen claims were filed. A copy of the Claims Register which

 lists the filed claims is annexed hereto as Exhibit E.



                                          III.
                                   SUMMARY OF THE PLAN

 A. What Creditors and Interest Holders Will Receive Under the Proposed Plan. The Plan

 classifies claims and interests in various classes. The Plan states whether each class of claims or

 interests is impaired or unimpaired. The Plan provides the treatment each class will receive.

 B. Unclassified Claims. Certain types of claims are not placed into voting classes. They are not

 considered impaired and they do not vote on the Plan because they are automatically entitled to

 specific treatment provided for them in the Bankruptcy Code. As such, the Proponent has not

 placed the following claims in a class:

    1. Administrative Expenses and Fees. Administrative expenses are claims for fees, costs

        or expenses of administering the Debtor’s Chapter 11 case which are allowed under Code

        Section 507(a)(1), including all professional compensation requests pursuant to Sections

        330 and 331 of the Code. The Code requires that all administrative expenses including fees

        payable to the Bankruptcy Court and the Office of the United States Trustee which were

        incurred during the pendency of the case must be paid on the Effective Date of the Plan

        unless a particular claimant agrees to a different treatment. The following chart lists all of

        the Debtor’s unpaid administrative fees and expenses ("Compensation"), an estimate of

        future professional fees and other administrative claims and fees and their treatment under

        the Plan:



                                                  22
Case 18-15691-CMG          Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                Desc Main
                                  Document    Page 23 of 45


  Name                               Claim For           Treatment                        Estimated
                                                                                          Amount
  Clerk’s Office                     Fees                Paid in full on Effective Date   To be supplied

  Office of U.S. Trustee             Quarterly Fees      Paid in full on Effective Date    To be supplied

  Broege, Neumann, Fischer & Legal       Fees Paid in full on Effective Date                undetermined
  Shaver, LLC                (estimated)


         Bankruptcy Court Approval of Professional Compensation Required: Pursuant to the

         Bankruptcy Code, the Bankruptcy Court must rule on all professional compensation and

         expenses listed in this chart before the compensation and expenses will be owed. The

         professional in question must file and serve a properly noticed fee application for

         compensation and reimbursement of expenses and the Bankruptcy Court must rule on the

         application. Only the amount of compensation and reimbursement of expenses allowed by

         the Bankruptcy Court will be owed and required to be paid under this Plan as an

         administrative claim. Each professional person who asserts a further administrative claim

         that accrues before the confirmation date shall file with the Bankruptcy Court, and serve

         on all parties required to receive notice, an application for compensation and

         reimbursement of expenses no later than ninety (90) days after Confirmation. Failure to

         file such an application timely shall result in the professional person’s claim being forever

         barred and discharged. Each and every other person asserting an administrative claim shall

         be entitled to file a motion for allowance of the asserted administrative claim within ninety

         days of the Effective Date of the Plan, or such administrative claim shall be deemed forever

         barred and discharged. No motion or application is required to fix the fees payable to the

         Clerk’s Office or Office of the United States Trustee. Such fees are determined by statute.

         As indicated above, the Debtor will need to pay the administrative claims and fees on the




                                                  23
Case 18-15691-CMG        Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                   Desc Main
                                Document    Page 24 of 45


        Effective Date of the Plan unless a claimant has agreed to be paid later or the Bankruptcy

        Court has not yet ruled on the claim. Applications for compensation and reimbursement of

        expenses accrued after Confirmation shall be made pursuant to the Administrative Fee

        Order entered on June 26, 2018 [DE 94]

    2. Priority Tax Claims. Priority tax claims are certain unsecured income, employment and

        other taxes described by Code Section 507(a)(8). The Code requires that each holder of

        such a Section 507(a)(8) priority tax claim receive on account of such claim regular

        installment payments in cash—

               (i) of a total value, as of the effective date of the plan, equal to the allowed

               amount of such claim;

               (ii) over a period ending not later than 5 years after the date of the order for relief

               under section 301, 302, or 303 of the Bankruptcy Code; and

               (iii) in a manner not less favorable than the most favored nonpriority unsecured

               claim provided for by the plan (other than cash payments made to a class of

               creditors under section 1122 (b) of the Bankruptcy Code).

        The following chart lists all of the Debtor’ Section 507(a)(8) priority tax claims and their

 treatment under the Plan:

  DESCRIPTION                       AMOUNT OWED                   TREATMENT

  Internal Revenue Service                               0.00     NOT APPLICABLE



  State of New Jersey Division      NO CLAIMS FILED               NOT APPLICABLE
  of Taxation



 C. CLASSIFIED CLAIMS AND INTERESTS.



                                                 24
Case 18-15691-CMG            Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39             Desc Main
                                    Document    Page 25 of 45


 1. Classes of Secured Claims. Secured claims are claims secured by liens on property of the

    estate. The following represent all classes containing Debtor’s secured pre-petition claims and

    their treatment under this Plan:

 CLASS # DESCRIPTION                   INSIDERS       IMPAIRED               TREATMENT
                                         (Y/N)          (Y/N)

         1   Claims of Diana                   NO             YES     The Claims of the creditors
             Campuzano, Avi                                           in this Class are disputed as
             Elishis and Gregg                                        to their validity, amount and
             Salzman                                                  whether they are secured or
                                                                      unsecured. The Claims in this
                                                                      Class shall be allowed in the
                                                                      amount, if any, as determined
                                                                      by entry of a Final Orders in
                                                                      the New York Campuzano
                                                                      Action and in the Bankruptcy
                                                                      Court, and as secured or
                                                                      unsecured as determined by
                                                                      entry of a Final Order in the
                                                                      Campuzano Adversary
                                                                      Proceeding. The Class 1
                                                                      Claims, as finally determined
                                                                      by entry of Final Orders, to
                                                                      the extent they are Allowed
                                                                      Claims, shall be paid as
                                                                      follows: (a) to the extent of
                                                                      any Allowed Secured Claim,
                                                                      payment in full upon receipt
                                                                      by the Debtor of the
                                                                      Peterson/Clearstream Share;
                                                                      and (b) to the extent of any
                                                                      Allowed Unsecured Claim,
                                                                      payment pro rata with the
                                                                      Allowed Claims in Class 3.


 2. Classes of Priority Non-Tax Claims. Certain priority non-tax claims that are referred to in

 Code Sections 507(a)(3), (4), (5), (6), and (7) are entitled to priority treatment. These claims are

 to be treated as follows:




                                                 25
Case 18-15691-CMG         Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                 Desc Main
                                 Document    Page 26 of 45


  CLASS#      DESCRIPTION IMPAIRED                 TREATMENT
                          (Y/N)
  None

 3. Classes of General Unsecured Claims. General unsecured claims are unsecured claims not

 entitled to priority under Code Section 507(a). These claims are to be treated as follows:

  CLASS#      DESCRIPTION          INSIDERS        IMPAIRED        TREATMENT
                                     (Y/N)         (Y/N)
  2           Unsecured           NO               YES             A. The holders of Allowed
              Claims of                                               Claims in this Class shall be
              professionals                                           paid on the Effective Date
              who are not
                                                                      the lesser of:
              insiders and who
              provided                                                    (a) the full amount of
              Prepetition                                                their Allowed Claim; or
              services to the
              Debtor. This                                               (b) their pro rata share of
              Class includes:                                            the Peterson/Clearstream
              Weinreb Law                                                Share which remains
              Firm, PLLC;                                                after payment to Class 1
              Cullen Dykman,                                             Creditors of the amount,
              LLP; Diamond                                               if any, finally determined
              Reporting;                                                 to be Allowed Secured
              Dinsmore &                                                 Claims held by the Class
              Shohl LLP;                                                 1 Creditors.
              Koffsky
              Schwalb, LLC;                                        B. In addition, the Claims in
              Loeb & Loeb,
                                                                      this Class shall be paid 25%
              LLP; Lourdes L.
              Morena Ledon;                                           of the Debtor’s Postpetition
              Professor Dan                                           Net Revenues, payable
              Sarooshi;                                               within 30 days after the due
              Professor Roy D.                                        date of the Debtor’s Form
              Simon; Tory’s                                           990 federal returns.
              LLP; Weinreb                                            Payments shall be made
              Law Firm, PLLC
                                                                      annually only if the Debtor
                                                                      has Net Revenues in any
                                                                      given year.


                                                                   C. In addition, if in its sole
                                                                      discretion, the Debtor



                                                 26
Case 18-15691-CMG     Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39         Desc Main
                             Document    Page 27 of 45


                                                          decides to pursue a claim
                                                          against DLA Piper, the
                                                          Allowed Claims in this
                                                          Class shall be paid pro rata
                                                          from the net proceeds after
                                                          litigation costs of the DLA
                                                          Litigation, which will be
                                                          split 50% to the Holders of
                                                          Claims in Class 2 and Class
                                                          3, and 50% to the Debtor.

                                                       D. No Claim shall be paid
                                                          more that the full amount of
                                                          the Allowed Claim.

  3        Claims of all           NO    YES           A. The holders of Allowed
           other unsecured                                Claims in this Class shall be
           creditors not                                  paid on the Effective Date
           separately
                                                          the lesser of:
           classified in a
           different Class.                                   (a) the full amount of
                                                             their Allowed Claim; or

                                                             (b) their pro rata share of
                                                             the Peterson/Clearstream
                                                             Share which remains
                                                             after payment to Class 1
                                                             Creditors of the amount,
                                                             if any, finally determined
                                                             to be Allowed Secured
                                                             Claims held by the Class
                                                             1 Creditors.

                                                  B.    In addition, the Claims in this
                                                       Class shall be paid 25% of the
                                                       Debtor’s Postpetition Net
                                                       Revenues, payable within 30
                                                       days after the due date of the
                                                       Debtor’s Form 990 federal
                                                       returns. Payments shall be
                                                       made annually only if the
                                                       Debtor has Net Revenues in
                                                       any given year.


                                        27
Case 18-15691-CMG        Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                Desc Main
                                Document    Page 28 of 45




                                                                  C. In addition, if in its sole
                                                                     discretion, the Debtor
                                                                     decides to pursue a claim
                                                                     against DLA Piper, the
                                                                     Allowed Claims in this
                                                                     Class shall be paid pro rata
                                                                     from the net proceeds after
                                                                     litigation costs of the DLA
                                                                     Litigation, which will be
                                                                     split 50% to the Holders of
                                                                     Claims in Class 2 and Class
                                                                     3, and 50% to the Debtor.

                                                                  D. No Claim shall be paid
                                                                     more that the full amount of
                                                                     the Claim and amounts
                                                                     received by creditors from
                                                                     third parties shall be
                                                                     credited against each Claim.

  4           Claims of            YES            YES             Allowed Claims in this Class
              Insiders (Eliezer                                   shall be paid in full but only
              Perr, Neal Sher)                                    after all other Allowed Claims
                                                                  in other classes have been paid
                                                                  in full, at such times and
                                                                  amounts as is determined by
                                                                  the board of directors of the
                                                                  Reorganized Debtor.


        D. MEANS OF EFFECTUATING THE PLAN.

        1.      Funding for the Plan. Creditors will be paid from the proceeds of the

 Peterson/Clearstream Share, the proceeds of the DLA Litigation if the Debtor decides to pursue it,

 and the Debtor’s Postpetition Net Revenues. The Debtor will retain counsel to pursue the claims

 against DLA Piper for malpractice and indemnification if it determines that the pursuit of the DLA

 Litigation would be beneficial.




                                                28
Case 18-15691-CMG           Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                  Desc Main
                                   Document    Page 29 of 45


         2.      Merger. The Debtor shall merge with the New Jersey Center for Civil Justice,

 Religious Liberty & Tolerance, a New Jersey corporation (“ACCJ-RLT”) (the “Merger”) and a

 new corporation (“NEWCO” until the entity is formed) formed pursuant to the New Jersey

 Nonprofit Corporation Act. (N.J.S.A. 15A:1-1 et seq.). NEWCO shall be the surviving entity and

 the Debtor and ACCJ-RLT shall be dissolved promptly after the merger. The merger shall be

 subject to the following conditions:

         (a) Compliance with applicable state laws of New York and New Jersey governing the

              merger of nonprofit corporations. Unless and until the requisite approvals under

              applicable non-bankruptcy law are obtained, the Debtor shall continue to operate as a

              corporation separate and apart from ACCJ-RLT, the treatment to creditors shall remain

              the same, except that the claim of ACCJ-RLT shall be subordinated to the claims of

              other creditors and be included in Class 4 of the Plan. Within 30 days of Confirmation,

              the Debtor shall make application to retain special counsel to assist in in obtaining state

              law approval of the Merger. Within 30 days of entry of a retention order approving the

              retention of such counsel, the appropriate motion or pleading shall be filed in the

              Supreme Court of the State of New York requesting approval of the Merger. The

              deadlines set forth in this paragraph may be extend for good cause shown upon request

              made prior to the expiration of the applicable time period.

         3. Post-Confirmation Management. The management of the Reorganized Debtor shall

 be under the direction of a board of directors (“Board”). The Board shall be comprised of

 individuals, the majority of whom are individuals who are independent and have had no prepetition

 affiliation with the Debtor. Any vacancy on the Board shall be filled only by such independent

 directors.




                                                    29
Case 18-15691-CMG          Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39            Desc Main
                                  Document    Page 30 of 45


        3.1 Board of Directors: The following tables sets forth the post-confirmation composition

 of the slate of directors and officers of the Debtor between the date of Confirmation and the

 Merger, and their annual compensation.

                 Name                                     Prepetition      Post-Confirmation
                                                          Compensation     Compensation
                 Hon., James Clyne, J.S.C., retired                   0.00         18,000.00*

                 Donald Steckroth, U.S.B.C., retired                   0.00           18,000.00*

                 Hon. Janet Eisenberg, N.Y. Ad. L. J.,                 0.00           18,000.00*

                 retired

                 * Assuming attendance at 1 meeting per
                 month and to be adjusted commensurate
                 with time spent which will be
                 significantly more in the first few
                 months after confirmation

        3.2 Officers:

                 Name/Title                               Prepetition     Post-Confirmation
                                                          Compensation    Compensation
                 Eliezer Perr, President                      $200,000.00              0.00

                 Neal Sher, secretary/general counsel          $150,000.00           $150,000.00

                 Harris Tanenbaum, treasurer/controller                0.00           $60,000.00



        3.3 Post-Merger. After the merger, the following table sets forth the post-confirmation

 composition of the slate of directors and officers of the Reorganized Debtor and their annual

 compensation.

                 Name                                     Prepetition      Post-Confirmation
                                                          Compensation     Compensation
                 Hon. James Clyne, J.S.C., retired                    0.00         18,000.00*




                                                30
Case 18-15691-CMG         Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39               Desc Main
                                 Document    Page 31 of 45


                Hon.      Donald   Steckroth,   U.S.B.C.,               0.00             18,000.00*

                retired

                Hon. Janet Eisenberg, N.Y. Ad. L. J.,                   0.00             18,000.00*

                retired

                * Assuming attendance at 1 meeting per
                month and to be adjusted commensurate
                with time spent which will be
                significantly more in the first few
                months after confirmation
       .

       3.4 Officers:

                Name/Title                                  Prepetition     Post-Confirmation
                                                            Compensation    Compensation
                Jedd Perr, President                            198,000.00*         198,000.00

                Neal Sher, secretary/general counsel              150,000.00             150,000.00

                Harris Tanenbaum, treasurer/controller             60,000.00              80,000.00

       * Paid by ACCJ-RLT

    4. Disbursing Agent. The Debtor’s attorney shall act as the disbursing agent for the purpose

       of making the initial distributions to be paid on the Effective Date. The Disbursing Agent

       shall post no bond and shall receive compensation for distribution services rendered and

       expenses incurred pursuant to the Plan at its normal hourly rates. Subsequent payments

       under the Plan will be made by the Reorganized Debtor.

    5. Transfer Taxes. The issuance, transfer, or exchange of any of the securities. issued under,

       or the transfer of any other assets or property pursuant to or in connection with the Plan or

       the making or delivery of an instrument of transfer under or in connection with the Plan

       shall not, pursuant to section 1146 of the Bankruptcy Code, be taxed under any law

       imposing a stamp tax, transfer tax or other similar tax.


                                                 31
Case 18-15691-CMG        Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                  Desc Main
                                Document    Page 32 of 45


    6. Effectuating Documents and Further Transactions.               The President, Treasurer or

       Secretary of the Debtor shall be authorized to execute, deliver, file or record such contracts,

       instruments, releases, indentures, and other agreements or documents and take or direct

       such actions as may be necessary or appropriate to effectuate and further evidence the terms

       and conditions of the Plan. The Secretary or any Assistant Secretary of any Debtor shall

       be authorized to certify or attest to any of the foregoing actions.

    7. Corporate Action. All matters provided for under the Plan involving the corporate

       structure of the Debtors or the Reorganized Debtors, or any corporate action to be taken

       by, or required of the Debtors or the Reorganized Debtors shall be deemed to have occurred

       and be effective as provided herein, and shall be authorized and approved in all respects

       without any requirement for further action by the stockholders or directors of any of such

       entities.

    8. Delivery of Distributions. Distributions to holders of Allowed Claims shall be made by

       the Disbursing Agent (a) at the holder’s last known address, or (b) at the address in any

       written notice of address change delivered to the Disbursing Agent or the Debtor. If any

       holder’s distribution is returned as undeliverable, no further distributions to such holder

       shall be made, unless and until the Disbursing Agent is notified of such holder’s then

       current address, at which time all missed distributions shall be made to such holder without

       interest. Amounts in respect of undeliverable distributions made through the Disbursing

       Agent shall be returned to the Reorganized Debtor until such distributions are claimed or

       become unclaimed property.

    9. Unclaimed Property. Any Cash, assets and other property to be distributed on account of

       any Claim under the Plan that remain unclaimed (including by an Entity’s failure to




                                                 32
Case 18-15691-CMG         Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                   Desc Main
                                 Document    Page 33 of 45


        negotiate a check issued to such Entity) or otherwise not deliverable to the Entity entitled

        thereto before the later of (a) one year after the date of distribution or (b) 120 calendar days

        after an order allowing such Entity’s Claim becomes a Final Order, shall become vested

        in, and shall be transferred and delivered to, the Reorganized Debtors. In such event, such

        Entity’s Claim shall no longer be deemed to be Allowed and such Entity shall be deemed

        to have waived its rights to such payments or distributions under the Plan pursuant to

        section 1143 of the Bankruptcy Code and shall have no further Claim in respect of such

        distribution and shall not participate in any further distributions under the Plan with respect

        to such Claim.

 E. Other Provisions of the Plan.

 1. Executory Contracts and Unexpired Leases. The Plan provides that all Executory Contracts

 and Unexpired Leases, except for those specifically assumed by the Debtor in writing, in the Plan,

 or previously assumed by Court Order, shall be deemed rejected. All proofs of claim with respect

 to claims arising from said rejection must be filed with the Bankruptcy Court within the earlier of

 (i) the date set forth for filing claims in any order of the Bankruptcy Court approving such rejection

 or (ii) thirty (30) days after the Confirmation Date. Any such claims, proofs of which are not filed

 timely, will be barred forever from assertion.

        1. Assumptions. The following are the unexpired leases and executory contracts to be

 assumed as obligations of the reorganized Debtor under this Plan: all Claimant and Center

 Agreements.

        2. Rejections. On the Effective Date, all executory contracts not assumed shall be deemed

 to be rejected. The order confirming the Plan shall constitute an order approving the rejection of

 the lease or contract. If you are a party to a contract or lease to be rejected and you object to the




                                                  33
Case 18-15691-CMG         Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                   Desc Main
                                 Document    Page 34 of 45


 rejection of your contract or lease, you must file and serve your objection to the Plan within the

 deadline for objecting to the confirmation of the Plan. See Disclosure Statement for the specific

 date. THE BAR DATE FOR FILING A PROOF OF CLAIM BASED ON A CLAIM

 ARISING FROM THE REJECTION OF A LEASE OR CONTRACT IS UP TO AND

 INCLUDING SIXTY (60) DAYS FOLLOWING THE ENTRY OF THE CONFIRMATION

 ORDER. Any claim based on the rejection of an executory contract or unexpired lease will be

 barred if the proof of claim is not timely filed unless the Court later orders otherwise.

 2. Changes in Rates Subject to Regulatory Commission Approval. This Debtor is not subject

 to governmental regulatory commission approval of its rates.

 3. Retention of Jurisdiction. The Court shall retain jurisdiction of this case pursuant to the

 provisions of Chapter 11 of the Bankruptcy Code, pending the final allowance or disallowance of

 all Claims affected by the Plan, and to make such orders as are necessary or appropriate to carry

 out the provisions of this Plan. In addition, the Court shall retain jurisdiction to implement the

 provisions of the Plan in the manner as provided under Section 1142, sub-paragraphs (a) and (b)

 of the Bankruptcy Code. If the Court abstains from exercising, or declines to exercise jurisdiction,

 or is otherwise without jurisdiction over any matter set forth in this Section, or if the Debtor or the

 reorganized debtor elect to bring an action or proceeding in any other forum, then this Section shall

 have no effect upon and shall not control, prohibit or limit the exercise of jurisdiction by any other

 court, public authority or commission having competent jurisdiction over such matters.

 4. Procedures for Resolving Contested Claims. The Debtor and/or the Disbursing Agent shall

 have 60 days subsequent to confirmation to object to the allowance of claims. The Proponent has

 reviewed the claims that have been filed and has filed objections to several claims, some of which

 have been resolved by the entry of orders expunging certain claims. Other objections are still




                                                   34
Case 18-15691-CMG         Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                 Desc Main
                                 Document    Page 35 of 45


 pending and will be litigated or settled as the case may be after Confirmation. The Proponent

 reserves the right to object to the amount of the claims of Michael Engelberg and the Campuzano

 Claimants.

 5. Effective Date. The Plan will become effective on the Effective Date which is the date 30 days

 after entry by the Bankruptcy Court of the order of confirmation.

 6. Modification. The Plan Proponent may alter, amend or modify the Plan at any time prior to

 the Confirmation Date and thereafter as provided in Section 1127(b) of the Bankruptcy Code.

 F. Tax Consequences of Plan. CREDITORS AND INTEREST HOLDERS CONCERNED

 WITH HOW THE PLAN MAY AFFECT THEIR TAX LIABILITY SHOULD CONSULT WITH

 THEIR OWN ACCOUNTANTS, ATTORNEYS, AND/OR ADVISORS. The following

 disclosure of possible tax consequences is intended solely for the purpose of alerting readers to

 possible tax issues this Plan may present to the Debtor. The Proponent CANNOT and DOES NOT

 represent that the tax consequences contained below are the only tax consequences of the Plan

 because the Tax Code embodies many complicated rules which make it difficult to state

 completely and accurately all the tax implications of any action.

        1.Federal Income Tax Consequences to the Debtor. Since the Debtor may not repay all

 creditors in full immediately, the difference between payment in full and the present value of the

 amount to be paid under the Plan will be treated as cancellation of indebtedness income under §

 108 of the IRC. The Debtor will not have to pay income taxes on account of such cancellation of

 indebtedness income.

        2. Federal Income Tax Consequences to Holders of Allowed Claims. Holders of Allowed

 Claims are likely to recognize a gain or loss equal to the amount realized under the Plan in respect

 of their Claims less their respective tax bases in their Claims. The amount realized for this purpose




                                                  35
Case 18-15691-CMG         Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                  Desc Main
                                 Document    Page 36 of 45


 will generally equal the sum of the cash, discounted to present value, received by holders under

 the Plan in respect of their Claims. Any gain recognized by the holder of an Allowed Claim will

 generally be treated as capital gain, provided that the Claim represented a capital asset in such

 holders' hands. The character of any gain or loss recognized will also depend on a number of other

 factors, including the tax status of the holder, whether the Claim was purchased at a discount, and

 whether and to what extent the Holder has previously claimed a bad debt deduction with respect

 to the Claim. The capital gain will be considered long term with respect to Claims held for more

 than one year, and short term with respect to claims held for one year or less. The holders'

 aggregate tax basis for any consideration received under the Plan will generally equal the amount

 realized. The holding period for any consideration received under the Plan will generally begin

 with the date following the receipt of such consideration.

        Holders of Allowed Claims not previously required to have included in their gross income

 any accrued but unpaid interest on a Claim may be treated as receiving taxable interest income to

 the extent any consideration received under the Plan is allocable to such interest. Holders

 previously required to include in their gross income any accrued but unpaid interest on a Claim

 may be entitled to recognize a deductible loss to the extent such interest is not satisfied under the

 Plan. Holders of Allowed Claims constituting installment obligations for tax purposes may be

 required to recognize currently any gain remaining with respect to the obligations if pursuant to

 the Plan the obligation is considered to be satisfied at other than its face value, distributed,

 transmitted, sold or otherwise disposed of within the meaning of section 453( b) of the IRC.

        A holder who under the Plan receives in respect of its Allowed Claim an amount less than

 the holders' tax basis in such Claim may be entitled in the year of receipt or in an earlier year to a

 bad debt deduction in some amount under Section 166 of the IRC or a worthless securities




                                                  36
Case 18-15691-CMG          Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                   Desc Main
                                  Document    Page 37 of 45


 deduction under Section 165 (g) of the IRC. A holder of an Allowed Claim may be entitled to a

 bad debt deduction with respect to such Claim only if (a) such holder is a corporation, or (b) such

 Claim constituted a debt either (i) created or acquired (as the case may be) in connection with a

 trade or business of such holders or (ii) debt the loss from the worthlessness of which is incurred

 in such Holder's trade or business. A holder that has previously recognized a bad debt deduction

 with respect to its Claim, however, may be required to include in its gross income (as ordinary

 income) any amounts received under the Plan to the extent such amounts exceed the holders'

 adjusted basis in such Claim.

 G. Risk Factors. The following discussion is intended to be a non-exclusive summary of certain

 risks attendant upon the consummation of the Plan. You are encouraged to supplement this

 summary with your own analysis and evaluation of the Plan and Disclosure Statement, in their

 entirety, and in consultation with your own advisors. Based on the analysis of the risks summarized

 below, the Plan Proponent believes that the Plan is viable and will meet all requirements of

 confirmation:

        1. There is a risk that the future revenues of the Reorganized Debtor will be insufficient to

 pay the amount, if any, that will be owed to creditors after the initial distributions from the Peterson

 Fund. This risk will be much greater if the Court determines that the Campuzano Claimants have

 an enforceable lien in the Debtor’s interest in the Peterson Fund.

        2. Another factor which will affect the amounts creditors receive is the outcome of the

 claims allowance process. Claims totaling over $100,000,000.00 have been filed. The Debtor is

 challenging the bulk of these claims. The final universe of Allowed Claims will affect whether

 Allowed Claims will be paid in full from the Peterson/Clearstream Share or will have to hope that

 the Debtor’s future Net Revenue will be sufficient to provide for substantial payments.




                                                   37
Case 18-15691-CMG          Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                   Desc Main
                                  Document    Page 38 of 45


                                     IV.
                  CONFIRMATION REQUIREMENTS AND PROCEDURES

         PERSONS OR ENTITIES CONCERNED WITH CONFIRMATION OF THIS PLAN

 SHOULD CONSULT WITH THEIR OWN ATTORNEYS BECAUSE THE LAW ON

 CONFIRMING A PLAN OF REORGANIZATION IS VERY COMPLEX. The following

 discussion is intended solely for the purpose of alerting readers about basic confirmation issues,

 which they may wish to consider, as well as certain deadlines for filing claims. The proponent

 CANNOT and DOES NOT represent that the discussion contained below is a complete summary

 of the law on this topic. Many requirements must be met before the Bankruptcy Court can confirm

 a Plan. Some of the requirements include that the Plan must be proposed in good faith, that

 creditors or interest holders have accepted the Plan, that the Plan pays creditors at least as much as

 creditors would receive in a Chapter 7 liquidation, and that the Plan is feasible. These requirements

 are not the only requirements for confirmation.

 A. Who May Vote or Object

 1. Who May Object to Confirmation of the Plan. Any party in interest may object to the

 confirmation of the Plan, but as explained below not everyone is entitled to vote to accept or reject

 the Plan.

 2. Who May Vote to Accept/Reject the Plan. A creditor or interest holder has a right to vote for

 or against the Plan if that creditor or interest holder has a claim that is both (1) allowed or allowed

 for voting purposes and (2) classified in an impaired class.

         a. What Is an Allowed Claim/Interest. As noted above, a creditor or interest holder must

 first have an allowed claim or interest to have the right to vote. Generally, any proof of claim or

 interest will be allowed, unless a party in interest brings a motion objecting to the claim. When an

 objection to a claim or interest is filed, the creditor or interest holder holding the claim or interest



                                                   38
Case 18-15691-CMG          Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                     Desc Main
                                  Document    Page 39 of 45


 cannot vote unless the Bankruptcy Court, after notice and hearing, either overrules the objection

 or allows the claim or interest for voting purposes. THE BAR DATE FOR FILING A PROOF

 OF CLAIM IN THIS CASE WAS JULY 18, 2018. A creditor or interest holder may have an

 allowed claim or interest even if a proof of claim or interest was not timely filed. A claim is deemed

 allowed if (1) it is scheduled on the Debtor’s schedules and such claim is not scheduled as disputed,

 contingent, or unliquidated, and (2) no party in interest has objected to the claim. An interest is

 deemed allowed if it is scheduled and no party in interest has objected to the interest.

         b. What Is an Impaired Claim/Interest. As noted above, an allowed claim or interest

 only has the right to vote if it is in a class that is impaired under the Plan. A class is impaired if the

 Plan alters the legal, equitable, or contractual rights of the members of that class. For example, a

 class comprised of general unsecured claims is impaired if the Plan fails to pay the members of

 that class 100% of their claim plus interest. In this case, the Proponent believes that classes ONE,

 TWO, THREE and FOUR are impaired and that holders of claims in each of these classes are

 therefore entitled to vote to accept or reject the Plan. Parties who dispute the Proponent’s

 characterization of their claim or interest as being impaired or unimpaired may file an objection to

 the Plan contending that the Proponent has incorrectly characterized the class.

 3. Who Is Not Entitled to Vote. The following four types of claims are not entitled to vote: (1)

 claims that have been disallowed; (2) claims in unimpaired classes; (3) claims entitled to priority

 pursuant to Code Section 507(a)(1), (a)(2), and (a)(8); and (4) claims in classes that do not receive

 or retain any value under the Plan. Claims in unimpaired classes are not entitled to vote because

 such classes are deemed to have accepted the Plan. Claims entitled to priority pursuant to Code

 Section 507(a)(1), (a)(2), and (a)(7) are not entitled to vote because such claims are not placed in

 classes and they are required to receive certain treatment specified by the Code. Claims in classes




                                                    39
Case 18-15691-CMG         Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                 Desc Main
                                 Document    Page 40 of 45


 that do not receive or retain any value under the Plan do not vote because such classes are deemed

 to have rejected the Plan. EVEN IF YOUR CLAIM IS OF THE TYPE DESCRIBED ABOVE,

 YOU MAY STILL HAVE A RIGHT TO OBJECT TO THE CONFIRMATION OF THE PLAN.

 4. Who Can Vote in More Than One Class. A creditor whose claim has been allowed in part as

 a secured claim and in part as an unsecured claim is entitled to accept or reject a Plan in both

 capacities by casting one ballot for the secured part of the claim and another ballot for the

 unsecured claim.

 5. Votes Necessary to Confirm the Plan. If impaired classes exist, the Bankruptcy Court cannot

 confirm the Plan unless (1) at least one impaired class has accepted the Plan without counting the

 votes of any insiders within that class, and (2) all impaired classes have voted to accept the Plan,

 unless the Plan is eligible to be confirmed by “cramdown” on non-accepting classes, as discussed

 later in Section (IV.A.8.).

 6. Votes Necessary for a Class to Accept the Plan. A class of claims is considered to have

 accepted the Plan when more than one-half (½) in number and at least two-thirds (b) in dollar

 amount of the allowed claims that actually voted, voted in favor of the Plan. A class of interests is

 considered to have accepted the Plan when at least two-thirds (b) in amount of the allowed interest-

 holders of such class which actually voted, voted to accept the Plan.

 7. Treatment of Nonaccepting Classes. As noted above, even if all impaired classes do not accept

 the proposed Plan, the Bankruptcy Court may nonetheless confirm the Plan if the nonaccepting

 classes are treated in the manner required by the Code. The process by which nonaccepting classes

 are forced to be bound by the terms of the Plan is commonly referred to as “cramdown”. The Code

 allows the Plan to be “crammed down” on nonaccepting classes of claims or interests if it meets

 all consensual requirements except the voting requirements of Section 1129(a)(8) and if the Plan




                                                  40
Case 18-15691-CMG          Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                   Desc Main
                                  Document    Page 41 of 45


 does not “discriminate unfairly” and is “fair and equitable” toward each impaired class that has

 not voted to accept the Plan as referred to in 11 U.S.C. §1129(b) and applicable case law.

 8. Request for Confirmation Despite Nonacceptance by Impaired Class(es). The party

 proposing this Plan asks the Bankruptcy Court to confirm this Plan by cramdown on impaired

 classes if any of these classes do not vote to accept the Plan.

 B. Liquidation Analysis. Another confirmation requirement is the “Best Interest Test”, which

 requires a liquidation analysis. Under the Best Interest Test, if a claimant or interest holder is in an

 impaired class and that claimant or interest holder does not vote to accept the Plan, then that

 claimant or interest holder must receive or retain under the Plan property of a value not less than

 the amount that such holder would receive or retain if the Debtor were liquidated under Chapter 7

 of the Bankruptcy Code.

         In a Chapter 7 case, the Debtor’s assets are usually sold by a Chapter 7 trustee. Secured

 creditors are paid first from the sales proceeds of properties on which the secured creditor has a

 lien. Administrative claims are paid next. Next, unsecured creditors are paid from any remaining

 sales proceeds, according to their rights to priority. Unsecured creditors with the same priority

 share in proportion to the amount of their allowed claims. Finally, interest holders receive the

 balance that remains after all creditors are paid, if any.

         In order for the Court to be able to confirm this Plan, the Court must find that all creditors

 and interest holders who do not accept the Plan will receive at least as much under the Plan as such

 holders would receive under a Chapter 7 liquidation. This requirement is not even applicable

 because nonprofit corporations such as the Debtor do not have interest holders (stockholders) and

 because cannot be Chapter 7 debtors absent their consent, and the Debtor would never consent to

 Chapter 7 liquidation.




                                                   41
Case 18-15691-CMG         Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                  Desc Main
                                 Document    Page 42 of 45


        Assuming that the Debtor would liquidate under Chapter 7, the Plan Proponent maintains

 that this requirement is met here for the following reasons: if a Chapter 7 trustee were to liquidate

 the assets of the Debtor, he or she would proceed precisely as the Debtor is proceeding under the

 Plan, that is, litigate the extent and validity of the secured claim filed by the Campuzano Claimants,

 collect the Debtor’s interest in the Clearstream Account, and distribute it in accordance with the

 hierarchy mandated by the Code. In Chapter 7 however, the claims of insiders would not be

 voluntarily subordinated, the merger with ACCJ-RLT would not be achieved, if at all, without

 protracted and expensive litigation, the trustee would hire her/his own counsel and accountants,

 all at considerable expense, and then would litigate the validity of claims and finally distribute

 funds which would add many months, if not years, to the time when creditors would finally receive

 payments. In addition, the Trustee would not continue to operate the Debtor’s business and pursue

 recoveries for victims and there would be no future revenues. If the sum total of Allowed unsecured

 claims is less than the Peterson/Clearstream Share, all unsecured claims will be paid in full, and

 creditors will receive at least as much as they would receive in Chapter 7. If, however, the universe

 of Allowed Claims exceeds the Peterson/Clearstream Share, creditors will have to hope that future

 revenues or perhaps the DLA Litigation generates additional funds. In Chapter 7 however, the

 business of the Debtor will not be operated and there will be no future revenues. A Chapter 7

 trustee is unlikely to pursue the DLA Litigation as the Debtor has not even determined whether it

 is worthwhile to do so. Consequently, the Peterson/Clearstream Share would as a practical matter

 be the sole source for payment to creditors, and that fund would be further reduced by the

 administrative expenses of the Chapter 7 trustee and her/his professionals. The Plan does all of

 what a trustee would do and more, and does it sooner, and at less cost. Thus, regardless of the




                                                  42
Case 18-15691-CMG         Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                   Desc Main
                                 Document    Page 43 of 45


 financial condition of the Debtor, creditors will receive more than they ever would if the Debtor

 waived its rights and acceded to liquidation under Chapter 7.

 C. Feasibility. A requirement for confirmation involves the feasibility of the Plan, which means

 that confirmation of the Plan is not likely to be followed by the liquidation or the need for further

 financial reorganization of the Debtor or any successor to the Debtor under the Plan, unless such

 liquidation or reorganization is proposed in the Plan. There are at least two important aspects of a

 feasibility analysis.

         (1) The first aspect considers whether the Debtor will have enough cash on hand on the

 Effective Date of the Plan to pay all the claims and expenses that are entitled to be paid on such

 date. The Plan Proponent maintains that this aspect of feasibility is satisfied as illustrated here:

   DEBTOR PRE-MERGER

   Cash Debtor will have on hand by Effective Date (assuming 12/31/2018)

           From Net Revenues                                                            $ 1,221,926.00

           From Peterson/Clearstream Share (approximate)                                24,000,000.00

           TOTAL                                                                        25,221,926.00

   LESS                                                                                         1,0000

           To Pay: Statutory costs & charges

           To Pay: Expenses of Administration

                   to Broege, Neumann, Fischer & Shaver, LLC (estimated)                    150,000.00

                   to Bederson & Company, LLP (estimated)                                    75,000.00

   To Pay: Plan Payments due on Effective Date -                                       24,000,0000.00


   Balance after paying these amounts                                                     $995,926.00




                                                   43
Case 18-15691-CMG         Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                Desc Main
                                 Document    Page 44 of 45


   REORGANIZED DEBTOR POST-MERGER                                                     $3,000,000.00



         (2) The second aspect considers whether the Proponent will have enough cash over the

 life of the Plan to make the required Plan payments. The Proponent believes that this second aspect

 of the feasibility requirement is met for the following reasons: the cash requirements of the Plan

 are met by obtaining the Peterson/Clearstream Share. If it is determined that the Campuzano

 Claimants do not hold an unavoidable lien, the entire amount – approximately $24,000,000 with

 interest) will fund the Plan. If it is determined that the Campuzano Claimants hold an unavoidable

 lien on the Peterson/Clearstream Share, there will still be more approximately $8,000,000

 remaining to fund payments to other creditors. Future payments

                                         V.
                           EFFECT OF CONFIRMATION OF PLAN

 A. Discharge. The Plan provides that upon confirmation of the Plan, the Debtor shall not be

 discharged of liability for payment of debts incurred before confirmation of the Plan, to the extent

 specified in 11 U.S.C. §1141. The provisions of the Plan shall be binding upon Debtor, all

 Creditors and all Equity Interest Holders, regardless of whether such Claims or Equity Interest

 holders are impaired or whether such parties accept the Plan, upon Confirmation thereof.

 B. Revesting of Property in the Debtor. The confirmation of the Plan revests all of the property

 of the estate in the Debtor.

 C. Modification of Plan. The Proponent may modify the Plan at any time before confirmation.

 However, the Bankruptcy Court may require a new disclosure statement and/or revoting on the

 Plan if Proponent modifies the plan before confirmation. The Proponent may also seek to modify

 the Plan at any time after confirmation so long as (1) the Plan has not been substantially

 consummated and (2) the Bankruptcy Court authorizes the proposed modification after notice and



                                                 44
Case 18-15691-CMG         Doc 239 Filed 09/24/18 Entered 09/24/18 19:12:39                Desc Main
                                 Document    Page 45 of 45


 a hearing. Proponent further reserves the right to modify the treatment of any Allowed Claims at

 any time after the Effective Date of the Plan upon the consent of the Creditor whose Allowed

 Claim treatment is being modified, so long as no other Creditors are materially adversely affected.

 D. Post-Confirmation Conversion/Dismissal. A creditor or party in interest may bring a motion

 to convert or dismiss the case under Section 1112 (b), after the Plan is confirmed, if there is a

 default in performance of the Plan or if cause exists under Section 1112(b). Quarterly fees pursuant

 to 28 U.S.C. § 1930(a)(6) continue to be payable to the Office of the United States Trustee post-

 confirmation until such time as the case is converted, dismissed, or closed pursuant to a final

 decree.




                                                 45
